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                     WHATSAPP INC. and FACEBOOK, INC.
            10
            11                                      UNITED STATES DISTRICT COURT

            12                                  NORTHERN DISTRICT OF CALIFORNIA

            13
            14       WHATSAPP INC., a Delaware corporation,         Case No. 3:19-cv-07123
                     and FACEBOOK, INC., a Delaware
            15       corporation,                                   DECLARATION OF JOSEPH D. MORNIN IN
                                                                    SUPPORT OF PLAINTIFFS’
            16                                                      ADMINISTRATIVE MOTION TO
                                      Plaintiffs,                   RESCHEDULE CASE MANAGEMENT
            17                                                      CONFERENCE UNDER LOCAL RULES 7-11
                            v.                                      & 16-2(D)
            18
                     NSO GROUP TECHNOLOGIES LIMITED
            19       and Q CYBER TECHNOLOGIES LIMITED,              Hon. Jacqueline S. Corley

            20                        Defendants.

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                                                                                  MORNIN DECLARATION IN SUPPORT OF
  COOLEY LLP
ATTO RNEY S AT LAW                                              1            PLAINTIFFS’ MOTION TO RESCHEDULE CMC
 SAN FRA NCI S CO                                                                             CASE NO. 3:19-CV-07123
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              1              I, Joseph D. Mornin, declare:

              2              1.      I am an attorney with the law firm of Cooley LLP and counsel for Plaintiffs

              3      WhatsApp Inc. and Facebook, Inc. in this matter. I submit this declaration based on personal

              4      knowledge and following reasonable investigation. If called upon as a witness, I could competently

              5      testify to the truth of each statement.

              6              2.      Shortly after filing their Complaint, Plaintiffs began the process of serving

              7      Defendants under the Hague Convention. On December 31, 2019, Plaintiffs learned that Defendants

              8      had been properly served via the Hague Convention on December 17, 2019, and that a formal

              9      certificate of service from the Central Authority would be forthcoming.

            10               3.      Between November 4 and 27, 2019, Plaintiffs attempted to contact Defendants

            11       multiple times via email, physical mail, and hand service. Each of Plaintiffs’ communications

            12       included a cover letter requesting contact information for Defendants’ counsel, requesting waiver of

            13       service of the summons within 60 days, and informing defendants of their duty to preserve all

            14       documents that may be relevant to this litigation. Each communication also included the complaint,

            15       exhibits, and civil cover sheet filed in this case (ECF Nos. 1, 1-1, & 1-2); U.S. District Court Forms

            16       AO 398 (“Notice of a Lawsuit and Request to Waive Service of a Summons”) and AO 399 (“Waiver

            17       of the Service of Summons”); the standing order for all judges of the Northern District of California;

            18       the civil standing order for Magistrate Judge Jacqueline Scott Corley; the Northern District of

            19       California’s general standing order for civil cases entitled “Contents of Joint Case Management

            20       Statement”; and the Court’s order setting ADR deadlines and the initial case management

            21       conference (ECF No. 9).

            22               4.      Many of these communications were successfully delivered. For instance, on

            23       November 13, 2019, Plaintiffs hand-delivered these materials to both Defendants at their offices in

            24       Israel. They were personally signed for by Shir Kovner, who serves as the “legal advisor” for both

            25       Defendants.

            26               5.      Defendants have not responded to any of Plaintiffs’ communications.

            27               6.      Plaintiffs are not aware of any counsel representing Defendants in this litigation.

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                                                                                         MORNIN DECLARATION IN SUPPORT OF
  COOLEY LLP
ATTO RNEY S AT LAW                                                     2            PLAINTIFFS’ MOTION TO RESCHEDULE CMC
 SAN FRA NCI S CO                                                                                    CASE NO. 3:19-CV-07123
                          Case 4:19-cv-07123-PJH Document 16-1 Filed 01/07/20 Page 3 of 3



              1             7.      For these reasons, Plaintiffs have been unable to obtain Defendants’ consent to this

              2      request to reschedule the case management conference.

              3             I declare under penalty of perjury under the laws of the United States that the foregoing is

              4      true and correct.

              5             Executed at San Francisco, California, on the 7th day of January, 2020.

              6
              7      Dated: January 7, 2020                       Respectfully submitted,
              8                                                   COOLEY LLP
              9
            10                                                     /s/ Joseph D. Mornin
                                                                   Joseph D. Mornin
            11
                                                                   Attorneys for Plaintiffs
            12                                                     WHATSAPP INC. and FACEBOOK, INC.
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                                                                                        MORNIN DECLARATION IN SUPPORT OF
  COOLEY LLP
ATTO RNEY S AT LAW                                                    3            PLAINTIFFS’ MOTION TO RESCHEDULE CMC
 SAN FRA NCI S CO                                                                                   CASE NO. 3:19-CV-07123
